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 8                              UNITED STATES DISTRICT COURT

 9                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                  March 2022 Grand Jury

11   UNITED STATES OF AMERICA,                   CR    2:23-cr-00002-CJC
12                Plaintiff,                     I N D I C T M E N T

13                v.                             [18 U.S.C. § 641: Theft of
                                                 Government Property in Excess of
14   NOEL MIRELEZ,                               $1,000]
       aka “Noel Gonzalez,”
15     aka “Noel Martin,”

16                Defendant.

17

18           The Grand Jury charges:
19                                    [18 U.S.C. § 641]
20           On or about July 25, 2022, in Los Angeles County, within the
21   Central District of California, defendant NOEL MIRELEZ, also known as
22   (“aka”) “Noel Gonzalez,” aka “Noel Martin,” knowingly and willfully
23   stole, purloined, and converted to his own use property of the Social
24   Security Administration (“SSA”), a department and agency of the
25   United States, having a value in excess of $1,000, namely, one 2018
26   \\
27   \\
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       Case 2:23-cr-00002-CJC Document 1 Filed 01/05/23 Page 2 of 2 Page ID #:2



 1   Hyundai Sonata, with the intent to deprive the SSA of the use and

 2   benefit of that vehicle.

 3

 4                                               A TRUE BILL
 5

 6                                                    /S/
                                                 Foreperson
 7

 8   E. MARTIN ESTRADA
     United States Attorney
 9

10

11   SCOTT M. GARRINGER
     Assistant United States Attorney
12   Chief, Criminal Division
13   DAVID T. RYAN
     Assistant United States Attorney
14   Chief, General Crimes Section
15   MORGAN J. COHEN
     Assistant United States Attorney
16   Major Frauds Section
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